       Case 1:22-cv-04149-WMR Document 13 Filed 11/14/22 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,

      Plaintiff,
                                                  CIVIL ACTION NO.:
                                                  1:22-cv-04149-WMR
vs.

FELICIA FRANKLIN, in her individual
and official capacities;
ALIEKA ANDERSON, in her individual
and official capacities;
GAIL HAMBRICK, in her individual
and official capacities; and
CLAYTON COUNTY, GEORGIA,

      Defendants.

                         NOTICE OF APPEARANCE

      COMES NOW, Kirsten S. Daughdril, of the law firm of Freeman Mathis &

Gary, LLP, 100 Galleria Parkway, Suite 1600, Atlanta, Georgia 30339, and hereby

enters her appearance as co-counsel of record for Defendants Clayton County,

Georgia and Gail Hambrick in the above-captioned civil action.

      Respectfully submitted this 14th day of November, 2022.




                             [Signature on following page]
       Case 1:22-cv-04149-WMR Document 13 Filed 11/14/22 Page 2 of 3




                                  FREEMAN MATHIS & GARY, LLP

                                  /s/ Kirsten S. Daughdril
                                  Kirsten S. Daughdril
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                                  Kirsten.daughdril@fmglaw.com
                                  Attorney for Defendant


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       Case 1:22-cv-04149-WMR Document 13 Filed 11/14/22 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

NOTICE OF APPEARANCE to the Clerk of Court using the CM/ECF system

which will automatically send electronic mail notification of such filing to counsel

of record who are CM/ECF participants.

      Respectfully submitted this 14th day of November, 2022.

                                      /s/ Kirsten S. Daughdril
                                      Kirsten S. Daughdril
                                      Georgia Bar No. 633350
                                      Kirsten.daughdril@fmglaw.com

                                      Attorney for Defendant
